       Case 1:21-cr-00403-RC Document 40-2 Filed 01/31/22 Page 1 of 1



Honorable Rudolph Contreras                                                           01-10-2022
U.S. District Court Judge
United States District Court Judge for the District of Columbia
333 ConsAtuAon Avenue, D.C. 20001


     Dear Sir:
My name is Julio A Prado I was born in Bolivia South America I was raise in a Catholic oriented
family, in my second year of economic studies at Mayor San Simon University Cochabamba Bolivia,
I made de biggest decision in my life, which I will never regret, I went to the land of opportuniAes,
the grates country in the world. United States of America. I’ve got married and have 3 children’s
the ﬁrst one Nicole Prado which is a bless to have a beauAful daughter no only outside but the
most important Inside, we raised our family with the same principles, going to church every
Sunday morning and being thanksfooll for what we have. Nicole went for feu years to Mother of
God catholic school in Gaithersburg MD.
Nicole being the oldest, always demonstrate the kindness and love for her liQle brothers.
Unfortunately, in 2000 they have a car crash been hurt her liQle brother with neck injury, that was
devastated for our family, but Nicole always demonstrated the strained to keep going, when her
mother took my children’s to Bolivia and leS them by themselves without my permeaAon to keep
them away during the divorce she was the one who took care of her liQle brothers Nicole ﬁnishing
school and geTng her bachelor’s degree in art which demonstrated her love for nature and life.
Nicole is an example of kindness, love in our family, and now in her own Family is showing that she
is the best Mother in the world. I Thanks God to have Nicole as my daughter.
Sincerely.


Julio A Prado.
